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   8
   9                           UNITED STATES DISTRICT COURT

  10                       CENTRAL DISTRICT OF CALIFORNIA

  11                                EASTERN DIVISION

  12   CARTER BRYANT, an individual ,        CASE NO. CV 04-9049 SGL {RNBx}
  13              Plaintiff,                 Consolidated with
                                             Case No. CV 04-09059
  14        vs.                              Case No . CV OS-02727

  15   MATTEL, INC., a Delaware              Hon. Stephen G. Larson
       corporation,
  16                                         DECLARATION OF DAVID
                  Defendant.                 ANTOLIN
  17
  18   AND CONSOLIDATED ACTIONS
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   1                          DECLARATION OF DAVID ANTOLIN
   2                I, David Antolin, declare as follows:
   3                1.     I am employed as a process server by NOW Messenger Service,
   4   1301 West Second Street, Suite 206, Los Angeles , California 90026 . I make this
   5 declaration of personal , f rsthand knowledge , and if called and sworn as a witness, I
   6 could and would testify competently hereto.
   7                2.     On January 12, 2009 , I attempted to serve a subpoena on Vision
   S Capital, LLC at 1525 South Broadway Street, Los Angeles , CA 90015. A true and
   9 correct copy of the subpoena is attached as Exhibit 1.
  10                3.     When I arrived at 1525 South Broadway Street, I saw no sign on
  11   the building for Vision Capital, LLC, but I did see a sign on the outside of the
  12 building at that address for Neman Brothers & Associates, Inc. A true and correct
  13 copy of a photograph of the building at 1525 South Broadway showing the sign is
  14 attached as Exhibit 2.
  15                4.     I proceeded to the reception desk of the building at 1525 South
  16 Broadway Street in an effort to serve the subpoena. When I inquired about service
  17 on Vision Capital, LLC, the receptionist made a phone call. After speaking with
  18 someone, the receptionist informed me that I was "in the wrong place" and that she
  19 had never heard of Vision Capital. The receptionist further stated to me that Neman
 20 Brothers & Associates, Inc. had been in this location for 2S years.
 21                 I declare under penalty of perjury under the laws of the United States of
 22 America that the foregoing is true and correct.
 23                 Executed on February 4, 2009, at Los Angeles, California.

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 25                                                David Antolin
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